                        Case 3:20-cv-01882-MPS Document 22 Filed 08/05/21 Page 1 of 3


  U. ·. Depa r tme n t of J ust ice                                                                          PROCESS RECEIPT AND RETURN
  U111lcd S tates Marshals Service
                                                                                                            See "l11str11clio11s /i,r Sen-ice o(Proces.1· bv U.S. Marshal"
                                         H!ffl!§fffii        8Mi2&tiff5ihM@tffidfsfUfftiff.5'd',ffl35Miii-·.fW!t§itfflfo$431M'M5t i!b#&SGWS§P                                        ilSb#¥#i±e1t#k5fitR    u:w




   SEND NOTICE OF SERV ICE COPY TO REQUESTER AT NAME AND ADDRESS l3ELOW
         ·····--·········-···· •-••···••-•···························-··•··••······· · •• · ••·· ....................... ......................
                  1 Rf)Llttll) J . DE FRt£S
                                                                                                                                                  Number or process 10 be
                                                                                                                                                  scn•ccl with this Form 285               I
                    l./-R2 FDllT IAJASII 1NC... i1JW AVE•
                         PcPT, 1.C
                                                                                                                                                  Number or par11cs 10 be
                                                                                                                                                  scrvct.l in this case                   I
                   L.!1 £ tv 'I o~ IC. , N Y l OI) 33                                                                                             l 'heck for service
                                                                                                                                                  on U.S A

       SPECIAL INSTRUCTIONS OR OTH ER INFORMATION Tl IAT WIL L 1\ SSIST IN EXPFDIT INCi SEl(V JCI-:                                                  ( f11c/1ulc R11si11ess 1111d Aftenwtc 111/drcss~s.
       All Telephone Numbers, 0111! Estimated Times Awlilable forService):                                                                                                                   ~
Fold                                                                                                                                                                                        32:            Fold




                                                                                                                  'U\INTIFI·
                                                                                                             0    DITl:Nl)/\NT




   1 hereby certify and relurn lhat I        D     have personally served ,        D    have legal evidence or service,          D     have executed as shown in ,.Rcma1ks••, the process described
   on the individual, company, corporation, etc., al the address shown above on the on the individual, company, COl]JClral ion, etc. shown at the address inserted below.

   D       I he,chy cc11ily and 1c11irn that I am unable 10 locate the individual, CClmpany, eo,porat ion. etc. uamcd above (S,,,, f'l'lllflrh lw/ow)
   Name and 1i1lc o f individual served (if1101 shown abo,·e)                                                                                             0 /\ person of suitable age and discretion
       S\                             {b v                                                                                                                     then residing in clcfcnclan1's usual place
                                                                                                                                                               or abode

                                                                                                                                                                                                          ~am
                                                                                                                                                                                                          El rm


   Scf\·ice Fee              Total Mileage Charges f'o ,warding Fee                       Total Charges             Advance Ucposils              /\mount owed 10 U.S. Marshal• or
                             inc hiding emlea,·ors)                                                                                               (Amount o f Rclimd•)



   REMARKS:




   /f.:Kif.§i)?k{,Jf !3;,~ed /Vf4 iSU£cl ma! I
                                 2. USMS RECORD
                                                                                                                                                                          PRIOR EDITIONS MAY BF USED

                                 3. NOTICE OF SER VICE
                                 4. !31LLI NG STATEMENT•: To be returned 10 the U.S. Marshal with payment,
                                    ,rany amount is owed. Please remit promptly payable 10 U.S. Marshal.                                                                                           l'orm USM-285
                                 5. ACKNOWLEDGMENT Of' RECEIPT                                                                                                                                          l(ev. 12/80
             Case 3:20-cv-01882-MPS Document 22 Filed 08/05/21 Page 2 of 3



FecEx.
                                                    TRACK ANOTHER SH IPMENT



                                                           773846336225

                                                         ADD NICKNAME




                                                        Delivered
                            Tuesday, June 1, 2021 at 11 :38 am

                     -•-----•------•--------,•
                                                           DELIV ERED
                                                     Signed for by : R.RICH
                                                      GET STATUS UPDATES

                                                    OBTAIN PROOF OF DELIVERY


                                    FR OM                                                         TO
                        Jennifer Chiappone                                                  Sejla Ahmetovic
                                141 church street                                        Wells Fargo Bank N.A.
                                   Mezzanine                                                   18 Main St.
                        New Haven, CT US 06510                                      EAST HARTFORD, CT US 06118
                             203-773-2107                                                  203-773-2107




     Travel History

         TIME ZONE
          Local Scan Time


         Tuesday, June 1, 2021

         11 :38 AM              EAST HARTFORD, CT         Delivered

         6:02 AM                WINDSOR, CT               On FedEx vehicle for delivery

         5:54 AM                WINDSOR. CT               At local FedEx facility

         Saturday. May 29, 2021

         6:58 AM                WINDSOR, CT               At local FedEx facility

         Friday, May 28, 2021

         4:49 AM                MIDDLETOWN, CT            Departed FedEx hub

         3:49AM                 MIDDLETOWN, CT            Arrived at FedEx hub

         Thursday, May 27, 2021

         8:20 PM                EAST GRANBY, CT           At destination sort facility

         7:25 PM                NORTH HAVEN, CT           Left FedEx origin facility
           0

      Case 3:20-cv-01882-MPS Document 22 Filed 08/05/21 Page 3 of 3


 6:02 PM              NORTH HAVEN, CT          Picked up

 1:32 PM                                       Shipment information sent to FedEx


Shipment Facts

TRACKING NUMBER                     SERVIC E                                  WE I G HT
773846336225                        FedEx Express Saver                       0.5 lbs/ 0.23 kgs


DELIVERY ATTEMPTS                   DELIVERED TO                              TOTAL PIECES
                                    Shipping/Receiving                        1

TOTAL SH IP MENT WEIGHT             TERMS                                     SHIPPER REFERENCE
0.5 lbs/ 0.23 kgs                   Shipper                                   3:20-CV-01882-MPS


PACKAGING                           SPECIAL HANDLIN G S ECTION                SHIP DATE
FedEx Envelope                      Deliver Weekday                           5/27/21 G)


STANDARD TRANSIT                    ACTUA L DELIVERY
6/2/21 before 4:30 pm CD            6/1/21 at 11 :38 am
